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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


 UNITED STATES OF AMERICA,                       )   CASE NO. 1:05CR519-005
                                                 )
        Plaintiff,                               )   JUDGE CHRISTOPHER A. BOYKO
                                                 )
                v.                               )   MAGISTRATE JUDGE VECCHIARELLI
                                                 )
 TIFFANY YOUNGBLOOD,                             )
                                                 )
        Defendant.                               )   ORDER


        On December 21, 2005, Defendant entered a plea of guilty to Counts 6 and 18 of an

 indictment charging 18 U.S.C. § 513(a) and 2 - Uttering Forged Securities, Aiding and Abetting

 and 18 U.S.C. § 1708 and 2 - Theft of Mail, Aiding and Abetting, respectively. Defendant was

 sentenced by this Court on March 14, 2006 to 24 months Probation on each count to run

 concurrent, Drug Testing and Treatment, Mental Health Aftercare, and Restitution in the

 amount of $2,516.00. Defendant was immediately remanded to the custody of the United States

 Marshal to begin inpatient drug treatment (ECF Doc. Nos. 47, 79).

        On November 27, 2007, the Court received a Violation Report from the

 Pretrial/Probation office requesting the Court issue an arrest warrant for Defendant. The

 Violation Report listed the nature of each non-compliance: (1) Defendant entered a plea of “no

 contest” to one count of Theft, F4, in the Medina County Common Pleas Court, Case No.

 07CR0147, was found guilty, and sentenced to 6 months custody of the Ohio Department of
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 Rehabilitation and Corrections; (2) Illicit Use of Substances in which urine samples collected on

 December 11, 2006, August 21, 2007 and September 12, 2007 tested positive for marijuana

 metabolite; (3) Failure to Comply with Substance Abuse Counseling and Drug Testing; and (4)

 Failure to Make Restitution Payments.

          Defendant , represented by counsel, appeared before this Court for a Revocation of

 Probation hearing on May 19, 2008.

          Scott M. Stutler, Probation Officer, gave an overview of the violations listed in the

 Violation Report.

          Counsel for Defendant stated the Defendant admits to the violations, has served 6 months

 State time and requests Probation.

          The Government had no objections to the recommendations of the Probation Officer for

 concurrent time to the State sentence and no further supervision.

          After consultation with Counsel and the Probation Officer, the Court revokes

 Defendant’s Probation, orders 6 months custody to the Bureau of Prisons concurrent to the State

 sentence1 with no further supervision.

          IT IS SO ORDERED.



                                                   s/Christopher A. Boyko
                                                   Christopher A. Boyko
                                                   U.S. District Court Judge

 May 20, 2008




  1
      For the Bureau of Prisons purposes, this sentence is considered as “time served."
